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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION



 LEAGUE OF UNITED LATIN AMERICAN
 CITIZENS, et al.,

      Plaintiffs,                                               CIVIL ACTION NO.
                                                            3:21-cv-00259-DCG-JES-JVB
 v.                                                                  [Lead Case]
                                                                         &
 GREG ABBOTT, in his official capacity as                      All Consolidated Cases
 Governor of the State of Texas, et al.,

      Defendants.



                      LULAC PLAINTIFFS’ AMENDED NOTICE OF FILING
                              OF EXPERT WITNESS REPORTS

          Plaintiffs LULAC, et al., hereby amend their filing of expert reports of Dr. Maria Cristina

Morales in order to provide the reports upon which they intend to rely at trial. The expert reports

are attached to this submission as Exhibits A and B.

           LULAC Plaintiffs further advise the Court that today they sent, by Federal Express, color

copies of the reports of Dr. Maria Cristina Morales that have been filed with this notice, with

instructions to replace the reports in the Court’s bench binders.

Date: May 9, 2025                              Respectfully submitted,

                                               /s/ Nina Perales
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                                               Julia Longoria
                                               Sabrina Rodriguez
                                               Mexican American Legal Defense and Educational
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                                             Counsel for LULAC Plaintiffs


                                CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that she has electronically submitted a true and
correct copy of the above and foregoing via the Court’s electronic filing system on the 9th day of
May, 2025.
                                                    /s/ Nina Perales
                                                    Nina Perales




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